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Michae| J. Stenge|. CJA
Defense Attorney

50 North Front St., Ste.850
Memphis, TN 38103-0110

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on February 03, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Titie & section M_ot§mn§e wm Mt§i
18 U.S.C. § 4 Misprision of Felony 03/28/ 1997 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully pald.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 09/13/1964 |V|ay 06, 2005
Deft’s U.S. |Vlarsha| No.: 18732-076

Defendant’s Nlaiiing Address:
P.O. Box 280628
Nashville, TN 37228

 

JAIV| . TODD
UNiTED STATES D|STR|CT JUDGE

May ”/_ 2 , 2005
This document entered on the docket sheet In mpi nos n
with Flule 55 and/or 32(b) FRCrP on _\M

  

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PROBAT|ON

The defendant is hereby placed on probation for a term of 5 Years.

While on probation, the defendant shall not commit another federai, state, or local
crime and shall not illegally possess a firearm, ammunition, or destructive device. The
defendant shall also comply with the standard conditions that have been adopted by this
court (set forth below). |f this judgment imposes a fine or a restitution obligation, it shall be
a condition of probation that the defendant pay any such file or restitution.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDlTiONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation ofncer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling. training, or other acceptable reasons; ‘

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase. possess, use.

disiribute, or administer any narcotic or other controlled substance, or any paraphemaiia related to such
substances. except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ofncer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity. and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shelf notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation ocher to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation. it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Crimina| lvionetary Penaities sheet of this judgment

ADDITIONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall participate in the Home Defention program for a period
of 6 months. During this time, defendantwiii remain atdefendant’s place of
residence except for employment and other activities approved in advance
by the Defendant’s Probation Ofiicer. Defendant will be subject to the
standard conditions of Home Defention adopted for use in the Western
District of Tennessee, which may include the requirement to wear an
electronic monitoring device and to follow electronic monitoring procedures
specified by the Probation Officer. Further, the defendant shall be required
to contribute to the costs of services for such monitoring not to exceed an
amount determined reasonable by the Probation Officer.

2. The defendant shall provide the Probation Officer access to any requested
financial responsibilities

3. The defendantshall not incur new credit charges or open any additional lines
of credit without the permission of the U. S. Probatlon Of'Hcer, while any
portion of the fine remains unpaid.

4. The defendant is expressly prohibited from employment in any position which
involves fiduciary responsibilitiesl

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5. The defendant shall cooperate with the U. S. Probation Ofiice in the
collection of DNA.

6. The defendant shall maintain a telephone at his place of residence
without any special services.

CR|M|NAL MONETARV PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500l unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ai| of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $76,613.00

The Speciai Assessment shall be due immediateiy.
F|NE
No fine imposed.
REST|TUT|ON

Restitution in the amount of $76,613.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed beiow.

Priority Order
Total Amount Amount of or Percentage
Name of pause of Loss Restitution Ordered of Payment
STATE OF TENNESSEE, $76,613.00
DEPARTMENT OF

F|NANCE AND ADMIN
729 CHURCH STREET
NASHV|LLE, TN 37247 -
6501

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The restitution shall be paid in monthly installments equal to ten (10%) of defendants total
gross monthly household income from ali sources. The defendant shall be required to regularly
furnish proof of his gross monthly household income, upon which the amount of monthly payments
shall be based, to the U. S. Probation Office

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenivise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same uniess,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

 

DISTRIC COURT -WESTERN DTRIC OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:05-CR-100]6 Was distributed by faX, mail, or direct printing on
May ]8, 2005 to the parties listed.

 

Miehael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

Memphis7 TN 38103--111

Vietor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

